       Case 1:08-cr-00327-CG-B                        Doc# 997          Filed 06/16/15            Page 1 of 1               PageID# 14429
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F      3DJHRI 3DJH1RWIRU3XEOLF'LVFORVXUH


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                                                                        IRUWKH
                                                       Southern District of Alabama
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                         JASON KELLEY                                           &DVH1R       08-00327-002
                                                                                8601R 10557-003
'DWHRI2ULJLQDO-XGJPHQW                            09-24-2010
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Arthur Madden
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  25'(55(*$5',1*027,21)256(17(1&(5('8&7,21
                           38568$177286& F 
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
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,7,625'(5('WKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      120            PRQWKVLVUHGXFHGWR          97 months                   

                                             (Complete Parts I and II of Page 2 when motion is granted)


$'',7,21$/&200(176
 This sentence reduction applies to the concurrent sentences imposed on all Counts other than Counts 1 through 82.
 Counts 1 through 82 have a statutory maximum sentence of 60 months.




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          09-24-2010          VKDOOUHPDLQLQHIIHFW
,7,66225'(5('                                                  Callie V.S. Granade                        Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                              DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                              Government, ou=Federal Judiciary,

2UGHU'DWH                  06-16-2015                            U.S. District Judge                        email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                              Date: 2015.06.16 14:15:31 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
